          Case 4:19-cr-00613-LPR Document 1 Filed 11/06/19 Page 1 of 1

                                                                               EAs&'{~~ll.,  ARKANSAS


                        IN THE UNITED STATES DISTRICT COURT JAM                      t$ O6 lD19
                           EASTERN DISTRICT OF ARKANSAS     By:~~                            ~    ; , CLERK

UNITED STATES OF AMERICA                     )
                                             )      No. 4: 19CR OOU,\3     '"5./V\
vs.                                          )
                                             )       18 U.S.C. § 875(c)
JAMES POWELL                                 )

                                        INDICTMENT


       THE GRAND JURY CHARGES THAT:

                                         COUNT ONE

       On or about September 23, 2019, in the Eastern District of Arkansas, the defendant,

                                       JAMES POWELL,

knowingly transmitted in interstate commerce a communication, and the communication contained

a threat to injure the person of another, namely, United States Congressman Rick Crawford, with

the knowledge that the communication would be viewed as a threat.

       In violation of Title 18, United States Code, Section 875(c).

                            [End of Text. Signature page attached.]
